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                                UNITED STATES BANKRUPTCYCOURT
                                 FOR THE DISTRICT OF DELAWARE

   In Re:                                               11
                                                Chapter _____
                                                                                 JTD
                                                                  24 12480 (_____)
                                                         Case No. ____-_________

   Debtor: FRANCHISE      GROUP, INC., et al.,
           @@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@

                         MOTION AND ORDER FOR ADMISSION PRO HAC VICE
   Pursuant to Local Rule 9010-1 and the attached certification, counsel moves the admission pro hac vice
       Colin T. West of White & Case LLP
   of____________________________________BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                 Ad Hoc Group of Freedom Lenders
   to represent__________________________BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
   in this action.
                                                          /s/ Michael J. Farnan (Bar No. 5165)
                                                          ____________________________________________
                                                          'JSN/BNF Farnan LLP
                                                          "EESFTT   919 N. Market St., 12th Floor
                                                                     Wilmington, DE 19801
                                                          1IPOF     (302) 777-0300
                                                                     mfarnan@farnanlaw.com
                                                          &NBJM

                     CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE
         Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, am admitted,
practicing and in good standing as a member of the Bar of  New              __________________
                                                                                    York                  Dnd submit to the
disciplinary jurisdiction of this Court for any alleged misconduct which occurs in the preparation or courseof this action. I
also certify that I am generally familiar with this Court’s Local Rules and with Standing Order for District Court Fund
revised . I further certify that the fee of $.00 has been paidto the Clerk of Court for District Court.


                                                          /s/ Colin T. West
                                                          ____________________________________________
                                                          'JSN/BNF White & Case LLP
                                                                     1221 Avenue of the Americas
                                                          "EESFTT   New York, New York 10020-1095
                                                          1IPOF     (212) 819-8200
                                                                     cwest@whitecase.com
                                                          &NBJM

                                           ORDER GRANTING MOTION
             IT IS HEREBY ORDERED counsel’s motion for admission pro hac vice is granted.




            Dated: December 5th, 2024                                  JOHN T. DORSEY
            Wilmington, Delaware                                       UNITED STATES BANKRUPTCY JUDGE




                                                                                                                    -PDBM'PSN
